 C    .,4                      MORTON COUNTY
                     SHERIFF'S DEPARTA1ENT
                                     Kyle L. Kirchmeier, Sheriff


                                           Unified Incident Command

                                              Request for Support

October 7, 2016

The Honorable Jack Dalrymple
Governor
State of North Dakota
The State Capitof
Bismarck, ND 58505-0100


Dear Governor Dalrymple:


As you know, the protests in Morton County in objection to the Dakota Access Pipeline have evolved
over the past several weeks. As Chief Law Enforcement Officer for Morton County, I have determined
the situation has reached the point where I must establish a Unified Incident Command structure to
completely integrate our response to prevent further harm and threats to citizens, property, and the
economic vitality of Morton County.


The current situation appears to have no end in sight and the size of the protest community is estimated
to exceed 3,000 persons. In addition, the camp is being fortified for winter living and out-of-state
agitators continue to arrive with intent to create further instability. Their ability to plan and execute
complex (and simultaneous) property attacks, as well as the constancy of threats to property owners,
their homes, employees and family members has stretched out county resources beyond our means.


Our goal for this incident remains:

     1.     To protect our community and its citizens.
     2.     Maintain Rule of Law


To meet these objectives, our deputies and other law enforcement personnel have performed flawlessly
for more than 8 weeks. Unfot tunately, they have accrued more than 33,643 hours of overtime. Our
total costs to date have exceeded [$1,400,000] and have now surpassed our County budget and reserves
for policing operations.
                           205 First A venue NW Mandan, ND 58554
                          Phone (701) 667-3330 Fax (701) 667-3463                                       EXHIBIT
                     Corrections Phone (701) 667-3318 Fax (701) 667-3216
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It is my judgement that our need to continue operating at our current, and likely greater, tempo will
continue into the near future, and can no longer be safely and efficiently sustained in a financially
prudent manner. These combined factors warrant my establishment of the Unified Incident Command
(U!C) structure with participation by members of the North Dakota National Guard, the North Dakota
Department of Emergency Services, other North Dakota Sheriffs, North Dakota Highway Patrol, and
potentially other federal, state and local entities.


Upon your concurrence, the following structure will be established and draw upon the human, technical,
and financial resources of the State of North Dakota:


         The Sheriff of Morton County, North Dakota, shall serve as the chair of the UIC Policy Group and
         the overall incident commander.


         The UIC Policy Group shall be comprised of the Adjutant General for the North Dakota National
         Guard or, in his/her absence, an individual of equal rank or authority to command and direct
         resources as necessary to meet our operating goals; the Director of the North Dakota
         Department of Emergency Services; the Sheriffs from volunteering counties; the Colonel of the
         North Dakota Highway Patrol; and, Federal agency leads, as available.




The UIC Policy Group will brief you daily and keep you apprised of any shortfall of resources which
warrant your approval to secure. Further, the UIC will perform under operating terms of reference.

The operating terms for this Endeavor shall be as follows:

    1. The principal unified commander, but in consultation with other UIC members, shall be the final
         decision maker to mobilize and direct all resourced necessary to maintain the law and order of
         Morton County only, an shall not be exercised beyond January 3, 2017, without mutual
         agreement of the Morton County Sheriff and the Governor;
    2.   To maintain law and order, arrest and detention authorization shall be delegated to the lawfully
         sworn National Guard personnel;
   3.    Tactical decisions about directing resources shall be made by the operating unit heads, and
         where strategic direction is required, shall be provided by the Incident Commander in
         consultation with the Policy Group;
   4.    The UIC shall operate on 24/7 basis until further notice, but not to exceed January 3, 2017;
   5.    The UIC may be disbanded upon mutual agreement of the Policy Group and concurrence by the
         Governor; or at the request of the Morton County Sheriff as incident commander and UIC lead.
   6.    The UIC Policy Group shall regularly provide, under separate cover, to the Governor and/or his
         designee an organizational diagram of participating agencies and their personnel lead and
         responsibilities; and,
    7.   UlC shall constantly strive to provide a shared understanding of priorities and restrictions, and
         unified incident objectives and Incident Action Plans.


To reiterate, the goal of the Unified Incident Command is for institutions and responding agencies is to
blend into an integrated, unified team. A unified approach results in:
    •    A shared understanding of priorities and restrictions;
    •    A single set of incident objectives;
    •    Collaborative strategies;
    •    Improved internal and external information flow;
    •    Less duplication of efforts; and,
    •    Better resource utilization.

Our signatures below reflect our mutual commitment to meet these objectives to ensure our collective
resources can protect our communities and to ensure a peaceful demonstration in the furtherance of
the constitutional rights of protester acting in Morton County.




Respectfully and in agreement;




Kyle Kirchmeier, Sheriff
Morton County, North Dakota
